              Case 23-11069-CTG          Doc 1665-5       Filed 01/08/24      Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                        )   Chapter 11
                                                  )
    Yellow Corporation, et al., 1                 )   Case No. 23-11069 (CTG)
                                                  )
                            Debtors               )   (Jointly Administered)
                                                  )
                                                  )   Regarding Docket No. ______

            ORDER GRANTING THE CENTRAL STATES PENSION FUND’S
               MOTION TO COMPEL ARBITRATION OF WITHDRAWAL
         LIABILITY DISPUTES, OR ALTERNATIVELY, FOR RELIEF FROM THE
                  AUTOMATIC STAY TO INITIATE ARBITRATION

         Upon consideration of Central States Pension Fund’s Motion to Compel Arbitration of

Withdrawal Liability Disputes, or Alternatively, for Relief from the Automatic Stay to Initiate

Arbitration (the “Motion”) and any responses filed thereto; and the Court having jurisdiction to

consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference, dated February 29, 2012; and consideration of the

Motion and the relief requested therein; and venue being proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409; and finding that the Court has authority to enter a final order on the

Motion consistent with Article III of the United States Constitution; and sufficient notice of the

Motion having been provided under the circumstances and in accordance with the Bankruptcy

Rules and the Local Rules; and a hearing having been held to consider the relief requested in the

Motion (the “Hearing”); and the Court having found and determined that the bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefore, and finding just cause for the relief granted therein;


1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of
Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990
Roe Avenue, Overland Park, Kansas 66211.
            Case 23-11069-CTG           Doc 1665-5      Filed 01/08/24      Page 2 of 2




       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      Pursuant to 29 U.S.C. § 1401, all disputes between the parties regarding the

withdrawal liability obligations of the Debtor entities to Central States Pension Fund are subject

to mandatory arbitration.

       3.      To the extent that the claims objection initiated by the Debtors against Central

States Pension Fund includes disputes with respect to the Debtors’ withdrawal liability to the

Central States Pension Fund, this Court hereby abstains from hearing the merits of the withdrawal

liability objections in the interest of justice pursuant to 28 U.S.C. § 1334(c)(1).

       4.      Resolution of Central States Pension Fund’s withdrawal liability claims and

Debtors’ objections to those claims shall be accomplished in accordance with 29 U.S.C. § 1401.

       5.      This Court shall retain jurisdiction over this matter for purposes of the

implementation of this Order.

   Dated: ____________, 2024

                                               THE HONORABLE CRAIG T. GOLDBLATT
                                               UNITED STATES BANKRUPTCY JUDGE
